      Case 8-18-73941-ast       Doc 16        Filed 07/13/18   Entered 07/13/18 14:43:02
                                                           tmd3574/mrm
 UNITED STATES BANKRUPTCY COURT                            August 2, 2018
 EASTERN DISTRICT OF NEW YORK                              09:30 AM
 ==================================X
 IN RE:                                                    Case No. 818-73941-AST

 PETER SIDOTE,                                             Hon. ALAN S. TRUST

                                                           NOTICE OF MOTION
                  Debtor.
 ==================================X


               PLEASE TAKE NOTICE, that upon the within application, Marianne DeRosa,
Chapter 13 Trustee will move this court before the Hon. Alan S. Trust, U.S. Bankruptcy Judge, at
the United States Bankruptcy Court, at 290 Federal Plaza, Room 763, Central Islip, New York,
11722, on August 2, 2018 at 09:30 AM or as soon thereafter as counsel can be heard, for an
order pursuant to 11 U.S.C. 1307(c) dismissing this Chapter 13 case and for such other and
further relief as may seem just and proper.
                Responsive papers shall be filed with the bankruptcy court and served upon the
Chapter 13 Trustee, Marianne DeRosa, Esq., no later than seven (7) business days prior to the
hearing date set forth above. Any responsive papers shall be in conformity with the Federal Rules
of Civil Procedure and indicate the entity submitting the response, the nature of the response and
the basis of the response.

Date: Jericho, New York
      July 13, 2018

                                                      /s/ Marianne DeRosa
                                                      MARIANNE DeROSA, TRUSTEE
                                                      125 JERICHO TURNPIKE; STE 105
                                                      JERICHO, NY 11753
                                                      (516) 622-1340
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 UNITED STATES BANKRUPTCY COURT                              August 2, 2018
 EASTERN DISTRICT OF NEW YORK                                09:30 AM
 ==================================X
 IN RE:                                                      Case No: 818-73941-AST

 PETER SIDOTE,                                               Hon. ALAN S. TRUST

                                                             APPLICATION
                  Debtor.
 ==================================X


TO THE HONORABLE ALAN S. TRUST U.S. BANKRUPTCY JUDGE:

       MARIANNE DEROSA, Chapter 13 Trustee in the above-captioned estate, respectfully
represents the following:

       1. The Debtor filed a petition under the provisions of 11 U.S.C. Chapter 13 on June 11,
2018, and, thereafter, MARIANNE DEROSA was duly appointed and qualified as Trustee.

       2.      As of the date of this application, the Debtor has failed to:

       a. commence making Chapter 13 Plan payments to the Trustee as required by 11 U.S.C.
       § 1326(a)(1); and

       b. provide the Trustee with a copy of a federal income tax return or transcript for the
       most recent year, 7 days before first meeting of creditors pursuant to 11 U.S.C.
       §521(e)(2)(A)(i); and

       c. provide the Trustee with all disclosure documentation as required by E.D.N.Y LBR
       2003-1; and

       d. appear and be examined at the Section 341 Meeting of Creditors as required by 11
       U.S.C. §343.

       3.      The Debtor’s failure to provide these items impedes the Trustee’s ability to
administer this case and, therefore, is a default that is prejudicial to the rights of the creditors of
the Debtor pursuant to 11 U.S.C. §1307(c)(1).

      4.      Each of the foregoing constitutes cause to dismiss this Chapter 13 case within
meaning of 11 U.S.C. §1307(c).

        WHEREFORE, the Chapter 13 Trustee respectfully requests that this Court enter an
Order dismissing this Chapter 13 case and for such other and further relief as may seem just and
proper.

Dated: Jericho, New York
       July 13, 2018
                                                               s/Marianne DeRosa
                                                               Marianne DeRosa
                                                               Chapter 13 Trustee
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------X   Case No: 818-73941-AST
IN RE:

 PETER SIDOTE,

                                                                        CERTIFICATE OF SERVICE
                                                                             BY MAIL
                                       Debtor.
-----------------------------------------------------------X

               This is to certify that I, Matthew R. Matz, have this day served a true, accurate and
correct copy of the within Notice of Motion and Application by depositing a true copy thereof
enclosed in a post-paid wrapper, in an official depository under the exclusive care and custody of
the U.S. Postal Service within New York State, addressed to each of the following persons at the
last known address set forth after each name:

PETER SIDOTE
44 ROBIN DRIVE
HAUPPAUGE, NY 11788

RICHARD L STERN, PC
ATTN: PETER COREY, ESQ.
2950 EXPRESS DR SOUTH, STE 109
ISLANDIA, NY 11749-0000

MTGLQ INVESTORS, LP
MARINOSCI & BAXTER
WELLIGNTON CENTER
14643 DALLAS PARKWAY; STE 750
DALLAS, TX 75254

NYS DEPT OF TAX AND FINANCE
250 VETERANS MEMORIAL HWY
HAUPPAUGE, NY 11788

MTGLQ INVESTORS, L.P
RAS BORISKIN, LLC
900 MERCHANTS CONCOURSE, SUITE 310
WESTBURY, NY 11590


This July 13, 2018


/s/Matthew R. Matz
Matthew R. Matz, Paralegal
Office of the Standing Chapter 13 Trustee
Marianne DeRosa, Esq.
125 Jericho Turnpike; Suite 105
Jericho, NY 11753
(516) 622-1340
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Hon. ALAN S. TRUST

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
========================================================================
IN RE:

PETER SIDOTE,


                  Debtor.
=======================================================================

            NOTICE OF MOTION AND APPLICATION TO DISMISS CASE

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                           MARIANNE DeROSA, TRUSTEE
                         125 JERICHO TURNPIKE; SUITE 105
                                JERICHO, NY 11753
                                  (516) 622-1340
